Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.1 Page 1 of 46




  Mel Marin                       January 17, 2024
  Box 80715
  San Diego, CA 92138
                                                                        FILED
  Plaintiff                                                            Jan 17 2024
  Pro Se                                                           CLERK, U.S. DISTRICT COURT
                                                                SOUTHERN DISTRICT OF CALIFORNIA
                                                               BY      s/ SusanNyamanjiva  DEPUTY


                  IN THE UNITED STATES DISTRICT COURT

               FOR THE SOUTHERN DISTRICT OF CALIFORNIA


  MEL MARIN,                             )             '24CV0110 TWR MSB
                                                 Civil -  - - - - --
                                         )
  Plaintiff,                             )       COMPLAINT FOR $770 MILLION
                                         )       DAMAGES FOR VIOLATION
  V.                                     )       OF THE AMERICANS WITH
                                         )       DISABILITIES ACT
  THE EDUCATIONAL TESTING                )       AND
  SERVICE (ETS),                         )       THE REHABILITATION ACT
                                         )       AND
                                         )       FOR BREACH OF GOOD
                                         )       FAITH AND FAIRDEALING
  Defendants.                            )
                                         )       JURY DEMANDED



                                   JURISDICTION

         1. This court has federal questionjurisdiction under 28 U.S.C. §1331

  because a vindication of federal rights under federal laws is asserted, and diversity

  jurisdiction under§ 1332 because plaintiff is domiciled in New York but resides

  here temporarily and was injured here by the actions of the defendant, and the

  defendant is domiciled in New Jersey.

                                             1
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.2 Page 2 of 46




        2. This action is also timely no matter when the ETS adverse acts started

 because ETS continues today to refuse to modify their one-size-fits-all policy of

 denying necessary and reasonable disability accommodations which proves the

 deliberate indifference described herein, under the rule in Evans v. City of San

 Diego, No. 06-cv-877, 2008 U.S. Dist.LEXIS 25054 at* 12 (S.D. Cal. March 27,

 2008)( claims based on deliberate indifference start to run on the last day of refusal

  of the treatment requested, not the first).

        3. Plaintiff has standing because he is a qualified individual with a

  disability that interfered with a major life activity which is seeing straight and

  reading like others and which was verified by a half-dozen doctors and colleges,

  and who was discriminated against or excluded from participation meaningfully in

  the tests at issue here solely because of his disability which caused a failure to gain

  admission to graduate and law schools and denied that education and the work her

  could have done, and this states claims under 29 U.S.C. Section ( § ) 794 (the

  Rehabilitation Act) and 42 U.S.C. §§ 12132 and 12181 (the ADA).

         4. And it does not matter that he did not actually apply to take the test at

  issue nor apply to the law and graduate schools first, because (a) none of the

  schools would permit an application without these test scores that these defendants

  would not allow him to take with a reading accommodation that his condition

  requires, and (b) if he took their tests they would with a 100% certainty create an

                                                2
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.3 Page 3 of 46




 "F" grade since he could not read and answer most of the questions in the time

  they permitted without accommodations he requires. That low test grade would

  then destroy his standing as a "qualifie4" graduate school applicant and prevent

  him from suing under this Act, and could never be erased from his academic

  history, as warned by the court ruling in Rittenhouse v. Board of Trustees of

  Southern Illinois University, 628 F.Supp.2d 887, 890 (S.D. Ill. 2008)(law student

  who received low grades in the first year was not qualified to continue to the next

  law school year and had no standing to complain that the denial was based on

  disability because the grades were too low so he was not qualified for reason of

  grades and not a disability denial).

        5. Additionally, even without taking the tests and matriculating in the law

  schools, Mel still qualifies to sue as a "tester", which is a disabled applicant who

  tests the waters of the facilities or activities before relying on them to see if their

  customs or policies violate the federal disability laws so he can tell if his

  disabilities effectively unfairly exclude him from meaningful participation, as held

  in Tandy v. City of Wichita, 380 F.3d 1277, 1287 at [5](10th Cir. 2004).

        6. In other words, Mel has no duty to take the tests, and fail them, before

  he can sue for denial of the disability accommodations he needs. He has a right to

  see the giant Tsunami wave coming and refuse to submit to that punishment and

  he can still sue to reach a safe shore.

                                              3
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.4 Page 4 of 46




        7.   His high damages claims are also legitimate for diversity jurisdiction

 purposes and not inflated to qualify for a federal court civil trial that require higher

 damages claims and commonly deliver higher jury verdicts than state courts,

 because his salary in the career at issue which he would likely have earned at

  graduation after 3 years of a top law school starting in Fall 2023 and graduating in

  Spring 2026 is estimated to be about $200,000 per year in 2023 dollars (which

  would be more in 2026 dollars from inflation and salary increases).

        8. Because Mel spent two years (2022 and 2023) trying to mitigate losses,

  which means trying another way around the ETS damage, and this law suit will

  take 2 more years (2024 and 2025), and he will lose another full year in 2026 in a

  top 4 year college to generate good letters of recommendation for his law school

  applications after this court issues an injunction to force ETS to accommodate

  Mel's disability (if this jury finds the ETS policy now violates disability laws), and

  another full year (2027) for the GRE testing and application process to a law

  school, he could start law school for the earliest time in Fall 2028. Those lost 5

  years, therefore, represent a loss of at least $1 million for compensatory damages

  alone, delaying the salary Mel could have earned sooner rather than later.

  Compensatory damages, therefore, means a jury award of $1 million for Mel to

  compensate him for the delay of at least 5 full years before starting a salary he

  could have earned for five years.

                                             4
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.5 Page 5 of 46




        9. Additionally, Mel seeks punitive damages as a disabled plaintiff may do

  if the jury is able to conclude ETS leadership (and, therefore, ETS) "knew" or

  should have known that its conduct was violating federal law but it continued to

  violate that law because that continuation to violate constitutes malice that under

  federal law is all that is necessary for the jury to award punitive damages, under

  the rule in Kolstad v. American Dental Ass'n, 527 United States Supreme Court

  526, at page 535 (1999)(the definition of malice that allows punitive damages is

  not hatred or ill-will: it is only enough that the defendant knew or should have

  known that he "may be acting in violation of federal law" ).

         10. Also, one of the required elements that a jury must find in this case to

  make an award in a Rehabilitation Act claim is that the defendant was

  "deliberately indifferent" to the disabled' s pleas to stop their policy of unlawful

  and heartless exclusion, which may be found by the jury if they agree that the

  company ignored their violations or failed to stop the unlawful conduct after

  repeated pleas.

         11. So, if the jury makes that finding of deliberate indifference, they will

  automatically also be making the finding that the ETS was guilty of malice that

  allows punitive damages as in Kolstad, above because deliberate indifference

  means they should have known they were violating federal law and continued.



                                             5
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.6 Page 6 of 46




        12. If punitive damages are agreed-to by the jury, the jury may then award

  up to and including 1/3 of the net worth of the defendants, according to Adams v.

  Murakami, 54 Cal.3d 105,112 (199l)(California courts have allowed up to 33% of

  net worth for punitive damages).

        13. The net worth ofETS is approximately $2.3 billion according to the

  valuation firm growjo.com as published on January 13, 2024 at https://growjo.

  com/ company/Educational Testing Service, and ETS made $1.14 billion in

  revenues per year for its monopoly everywhere in the world on college and

  graduate school admission tests as of2015 according to the Washington Post at

  https://www.washingtonpost.com/news/answer-sheet/wp/2015/09/30/how-much-d

  o-big-education-nonprofits-pay-their-bosses-quite-a-bit-it-turns-out/ . So that

  means their net worth may be far greater now, possibly double that in 2015,

  because it is 9 years later than 2015 so the jury be permitted to award over $1

  billion in punitive damages for Mel, and much of that would then be returned to

  the United States as income tax under the highest tax rate and effect a return to the

  federal government of some of the billions the United States has given ETS for

  research and teaching in the last 7 decades.




                                            6
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.7 Page 7 of 46




                            GENERAL ALLEGATIONS

        14. In 2021 plaintiff was engaged in college classes that in the normal

  course with the cooperation of colleges allowing additional testing time for his

  visual disabilities that the disabilities require, would allow him to finish key

  qualifying courses for graduate science school and law school applications and

  meet application deadlines in Spring 2022 to allow Marin to start law school in

  Fall 2022 and a top graduate science programs in Fall 2024.

         15. The goal was to complete law school, and to enroll part-time in a

  graduate science program to reach a graduate degree to qualify for the patent test

  in Washington, D.C. at the Patent and Trademark Office, and work as a patent

  agent ifhe could not gain bar admission with an average salary of about $117,000

  which would be expected to increase to $163,000 with a graduate science degree

  two years later (based on Exhibit A) , or to work as a patent lawyer commanding

  an average salary of about $309,000 which would be expected to increase to about

  $400,000 a year after earning a graduate science degree (based on Exhibit B).

         16. Or, ifhe scored as expected on the GRE as he did on the SAT, he

  expected to be admitted to a top law school like Yale, and graduate into a law job

  paying $200,000 without a patent license. Over five years, that means $1 million

  without the added emotional distress and threat to his life that the ETS has created.

         17. The Graduate Record Exam is one of the two tests law schools require

                                              7
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.8 Page 8 of 46




 (along with the Law School Admissions Test) which was a pre-requisite for

  admission to the top tier law schools Marin sought and which are required for a

 patent agent or lawyer to get work in that narrow but highly competitive field. He

  could take either test, but the Law School Assembly Council that administers the

  LSAT refused to consider any disability accommodation at all.

        18. Additionally, Mel had a 3.6 GPA in college science courses, and a

  degree in jurisprudence (law) with high honors from Oxford University in England

  (2 nd Class), but a foreign law degree is not enough to practice patent law in

  Washington D.C. for a patent law firm so he must get an American law degree.

        19. He was admitted to Yale for a PhD in political science in 1978 but

  could not pay their tuition so he could not go. That department chair said he

  would be welcome back when he can (he still can't pay it). He was also admitted

  to one of the top 5 science schools in the nation, the Engineering School ofU.C.

  Berkeley for an engineering degree, and he was invited to apply to another top

  school, Columbia School of Engineering where he could take courses part time by

  computer in his last year at law school, to produce a graduate engineering degree a

  year after law school to enhance his chances for work at a high paying patent law

  firm which after a few years would increase his salary dramatically.

         20. He also received repeated invitations to practice international patent

  law from overseas patent firms in 2020, 2021 and 2022 because in U.S. Army

                                             8
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.9 Page 9 of 46




  Special Operations he had studied and could speak Arabic, Chinese, French,

  Greek, Russian, Serbo and Spanish.

        21. So with this background and honors college work Mel's chances for

  work in that career were not speculative, but were likely, according to court

  holdings in Haim v. Islamic Republic of Iran, 425 F.Supp. 2d 56, 71 (IV) n. 2

  (D.C. D.C. 2006)( damages for loss of future earnings for future career were not

  speculative based on evidence that she was on Dean's list and showed exceptional

  academic performance), and Warren v. Greenfield, 595 A.2d 1308, 1314 (Pa.

  Super. 1991) (the fact that plaintiffs business was "new and untried" does not

  prevent the plaintiffs losses from being foreseeable), and Ray v. Wal-Mart

  Stores, Inc., 120 F.3d 882, 885 (8 th Cir. 1997) (career damages were not

  speculative even though plaintiff was not licensed yet, nor certified, and had not

  been to any civilian school for it, because he had military air traffic training

  suggesting he could succeed), and American Board of Internal Medicine v. Muller,

  10-cv-2680 (E.D. Pa. March 10,201 l)(doctor states a claim for interference with

  prospective business by being denied future admission privileges at hospitals), and

  Westlake Comm. Hosp. v. Superior Ct. Of L.A. County, 17 Cal.3d 465, 131

  Cal.Rptr. 90, 91, 96 n. 5 (1976) (There is an established principle at common law

  that an action will lie where the right to pursue a lawful business, calling, trade, or

  occupation is intentionally interfered with either by unlawful means or by means

                                             9
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.10 Page 10 of 46




  otherwise lawful when there is a lack of sufficient justification), and Bowers v.

  NCAA, 475 F.3d 524 (3d Cir. 2007) (student athlete may state claim for loss of

  entire career by denial of athletic participation even though he never took classes

  because he was wrongfully stopped early).

           22. In pursuit of this career, in late 2021 plaintiff Mel made inquiries with

  the ETS to determine ifhe could sit for the GRE test with a disability

   accommodation to extend the time requested by his medical providers in their

   reports and letters.

           23. The ETS "dragged its feet", sending rules that allow only 100% extra

   time to take the test but when Mel made additional inquiries to see if they allowed

   exceptions to those published rules to permit 300-500% extra time if the student's

   doctor's supported it, they failed to answer fully or quickly.

           24. Mel tried to get that extra time with correspondence on 11/30/2021,

   and on 12/31/2021 and on 1/18/2022 and on 1/28/2022. In these ETS agents did

   say that an exception to their 100% extra time rule might be possible, and

   suggested sending doctors' reports. The doctors did make requests and Mel sent

   them.

           25. On February 11, 2022, however, the ETS flatly denied the requests for

   the disability accommodation that Mel required and that his doctors requested.



                                              10
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.11 Page 11 of 46




         26. In that same denial, however, the ETS invited Mel to submit more

   recent medical information to justify 300-500% extra time for testing.

         27. Mel did so. He went to a neuro-ophthalmologist who was a graduate

   ofUCSD and is the leading eye specialist in the field in San Diego, and possibly

   in the world. That doctor did a thorough test and on a later appointment revealed

   to Mel that she called the ETS staff to see what they wanted exactly to justify the

   extra time Mel needed. But they refused to tell her. She reported to Mel that she

   could not draft a better letter for him because it was clear to her that they would

   refuse no matter what she said.

         28. Mel followed-up asking the ETS staff if they could provide an example

   of an application for 300-500% more time that they had approved, after

   "redacting" or removing the names of their disabled students with reading

   problems for privacy reasons so Mel's doctor could touch on each of those points

   herself in a new letter and report.

         29. ETS still refused.

         30. Mel's and his doctor's subsequent efforts with ETS to try to get this

   extra information included April 6, 2022, April 14, 2022, May 17, 2022, May 25,

   2022, June 19, 2022, June 24, 2022, July 19, 2022, and August 22, 2022. That

   makes over a half-dozen refusals ofETS to identify exactly the showing they

   required to allow 300-500% more than the normal testing time which would mean

                                             11
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.12 Page 12 of 46




  breaking the test up to take it over 4 days rather than the day that they now permit

   for 100% extra time, but not changing the test content and not making the test any

   easier.

             31. They failed to provide it because they had never granted a disability

   accommodation to anyone greater than 100% extra time, and they had never

   approved a request with the detail that they said they needed in their February 11,

   2022 denial because their 100% disability extension was absolutely fixed, a

   permanent "cap" beyond which they would not go because it was too annoying.

             32. That alone suggested ETS may be violating disability laws according

   to the court of appeals of this federal trial court in Armstrong v. Davis, 275 F. 3d

   849, 862-63 n. 20 (9 th Cir. 2001)(defendant may violate these disability acts if the

   administrative board places a limit on the accommodation allowed where the

   person needed more to be meaningful) and Stevens v. Harper, 213 F.R.D. 398, 375

   (N.D. Cal. Sept. 11, 2002)(alleging a failure of accommodation is enough to state

   a claim without showing how).

             33. Therefore, ETS simply lied or they misled plaintiff when they

   suggested that a better description of the disability could possibly generate 300-

   500% extra time since their custom and policy was actually to refuse completely.

   So their invitation to try again was fake.



                                                12
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.13 Page 13 of 46




         34. As a result of these refusals, Mel had to "mitigate" his losses, or try to

   find other ways around the ETS refusal. He investigated and sought waivers of

   the GRE and LSAT requirements of the Law Schools of Yale, Harvard, Cornell,

   Seton Hall, UCLA, Stanford, Hastings (San Francisco), Columbia, and NYU, so

   he could apply to those schools without those tests. They refused, giving the

   basis that the American Bar Association requires at least one of those tests as a

   condition oflaw school application.

          35. ETS knew or should have known that would happen, and they knew or

   should have known that a student with a serious visual impairment who could not

   reach and read 80% of the questions presented in the time ETS permitted would

   fail the GRE horrendously and be denied admission to those and to all law schools

   in the nation for the rest of his life.

          36. For instance, Exhibits C, D, and E attached hereto, show ETS

   leadership knew or should have known that Mel would suffer a poor result in their

   test and likely be denied admission to law schools ifhe did not have the extra time

   his doctors request as a disability accommodation. This is because Exhibit C

   proves they had seven decades of research into the damage that visual impairment

   has on testing, and Exhibit D in 1990 (3 decades ago), and Exhibit E giving

   research in 2008, 2009, 2010 specifically studied "the impact of accommodations"

   for the visually impaired in testing. Exhibits F and G proves if this were not

                                             13
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.14 Page 14 of 46




   enough to show ETS knew the damage they cause the visually disabled by

   refusing to provide an accommodation that matches their disability, they show the

   federal government gave ETS millions more dollars in 2011 to look again. So

   these exhibits are documentary proof that they knew Mel would be crippled by

   their testing alone. And they intended to cripple the crippled so they do not rise

   agam.

           37. In other words, the ETS was so certain their "token" disability

   accommodation of 100% would fail the disabled, that they wanted the disabled to

   fail to keep them out of graduate and laws schools to accommodate those

   colleges who hate the disabled and routinely refuse to provide accommodations.

           38. These documents as exhibits also prove ETS knew their 100%

   accommodation was only meaningless "window dressing" to give the impression

   of accommodation. ETS maintained that window dressing, so they could argue to

   a jury that they provided reasonable disability accommodations to all, to eliminate

   a threat of exposure oflow disability accommodations that could cut-off billions

   of dollars of funding sources when the accommodations are revealed by a jury to

   be fake and which could threaten the salary of the $1 million a year of the ETS

   leadership.

           39. ETS was and is well aware that they are The Gate that makes or breaks

   careers and dreams for millions of students for over 7 decades. They knew or

                                             14
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.15 Page 15 of 46




   should have known that their tests alone destroy those careers and dreams for the

   disabled. The Law School Admission Council reported that as high as 40% of law

   school applicants have disabilities. But Exhibit H shows while 25% of all

   Americans are disabled and while 40% of law school applicants are disabled, only

   10.7% of them accepted.

         Therefore, something in the GRE test causes 90% of the disabled to fail to

   reach any graduate school, not just the top schools. Why should taxpayers pay

   disability payments for the entire life span of the disabled when many of them

   could prove they can think and answer test questions if the ETS would let them,

   and get into graduate schools, become specialists, and earn a living and stop

   making the healthy pay for them? The answer to chronic disability, is more

   education as the Salvation Army, Goodwill Industries and Deseret Industries have

   proved. But the ETS denies it by testing something other than competence.

         40. That something is speed. Both the GRE and LSAT measure how fast a

   student may read and answer, not how good they are on content and reasoning

   that ETS claims to test on. So their test itself is a failure as a fair measure of

   ability in graduate schools. It is mainly a test of good health and speed.

         41. So the GRE is a scam. It is an entrenched, institutionalized gate that

   lets into graduate schools 90% of the applicants who are healthy, and denies 90%

   of the applicants who are not healthy, solely because of their disability, by forcing

                                              15
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.16 Page 16 of 46




  speed in a wheel chair or in a struggle to see straight and mark little circles too

  small for the visually challenged to even see apart. It cripples the crippled.

         42. How fast can a near-blind student read the passage in the question and

  the four choices and find the right box on the computer screen 1,000 times? That

   is what it tests; not how well the student can think nor how qualified she is for

   advanced research and writing in graduate and law schools.

          43. And those disabled who fail the GRE face almost the same bias in the

   private employment market where 80% of the disabled are refused work of all

   kinds, according to the SHRM Foundation on March 8, 2023 at www.shrm.org/

   topics-tools/news/inclusion-equity-diversity/employment-rate-rising-people-

   disabilities.

          44. The California Budget and Policy Center also revealed in March 2023

   that California has 171,000 homeless, and 64% of them who crowd California

   streets are temporary. But 36% are there chronically because they are disabled,

   which means until death. Https://calbudgetcenter.org/resources/who-is-

   experiencing-homelessness-in-california/. Some are mentally challenged but the

   Rehabilitation Act protects them too. And most are not. Many sleep in a car,

   because the ETS keeps them there and refuses to allow them to work by locking

   them out of their Gate with an insufficient testing accommodation.



                                              16
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.17 Page 17 of 46




         45. So, the path to freedom from that Gulag of the street for them and for

   this plaintiff is higher education, even graduate school.

         46. The pain and suffering caused by this fixed prejudice ofETS about

   which this plaintiff complains is not just measured by the growth of his infections

   caused by stress but also by the increase in sadness and desperation that he has to

   fight every day and every night as he slips quietly in the night into and out of his

   car so he is not spotted and ticketed, like a prisoner escaping from a jail of tears

   every day. Disability is jail. Exhibit H proves 1/4 of the United States is in that

   prison. And the ETS keeps them there, by a policy denying competent students

   and veterans a fair chance to take their tests to show disability can succeed.

         4 7. Mel has a history of serving this country in special operations, wrote a

   book on foreign policy, held a White House pass for daily access to The President.

   The President took Mel's advice to change NATO policy that was in a National

   Intelligence Estimate that nobody else had considered, and that changed policy is

   still in force today. But other representations of his history that might show his

   qualifications to be an attorney are limited by secrecy labels on his record, and

   sealed by the U.S. Court of Appeals at Marin v. DOD, 05-1139 (3d. Cir. 2005).

         48. But Mel can still serve his country if the ETS lets him, or if this jury

   forces the ETS to let him out of the car by finding ETS policy widely unreasonable

   and violative of the duty of reasonable accommodation, and if this jury also kicks

                                              17
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.18 Page 18 of 46




   ETS in the butt with a punitive damages award large enough to wake them up and

   stop their stubbornness, which is what a punitive damages award is designed to do.

         49. Additionally, the loss of time Mel had to endure to try a different career

   to get around that refusal (which is called mitigation of damages that he must do

   before suing), and the years to file and prosecute this law suit were losses of years

   that were foreseeable to ETS because of their extensive research showing that kind

   of harm Mel would suffer, and about which Mel submits now exhibits attached

   hereto which proves they knew.



                      FIRST COUNT FOR VIOLATION OF

                THE    REHABILITATION ACT SECTION ( §) 504

                    AT 29 UNITED STATES CODE (U.S.C.) § 794

          50. All allegations above are incorporated into this cause of action by this

   reference.

          51. The Rehabilitation Act Section 504, re-stated in federal rules at 34

   Code of Federal Regulations (C.F.R.) § 104.43(a), provides that no qualified

   individual with a disability shall, on the basis of disability, be excluded from

   participation in, be denied the benefits of, or be otherwise subjected to

   discrimination under any postsecondary education program of a recipient of

   federal funds.

                                             18
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.19 Page 19 of 46




         52. The formal elements that a disabled plaintiff must allege and prove to a

   jury for an award in his favor include 7 elements. Four are these:

         (1) he is an individual with a disability; (2) he is otherwise qualified to
         receive the benefit; (3) he was denied the benefits of the program solely
         by reason of his disability; and (4) the program receives federal financial
         assistance.

   Duvall v. County of Kitsap, 260 F. 3d 1124, 1135 (9 th Cir. 2001).

         53. A fifth element is for the disabled to show he was denied meaningful

   benefits, not just any benefits that might show fake "window dressing" by the

   agency to give the false impression of compliance with federal law, as required by

   the U.S. Supreme Court in Alexander v. Choate, 469 U.S. 287, 302 (1985), and by

   the appeals court to this trial court in Crowder v. Kitagawa, 81 F. 3d 1480, 1484

   (9 th Cir. 1996) ("The (Alexander] Court ... determined it more useful to assess

   whether disabled persons were denied 'meaningful access' to state- provided

   services."), which was followed by Kling v. Los Angeles Cty., 633 F.2d 876, 878

   (9th Cir. 1980) ("(S]ection 504 guarantees 'meaningful access' to programs or

   activities") and Mark H. v. Hamamoto, 620 F.3d 1090, 1096 (9th Cir. 2010)

   ("Hawaii DOE is liable for damages for violating § 504 if it failed to provide

   Natalie or Michelle a reasonable accommodation that they needed to enjoy

   meaningful access to the benefits.") and A.G. v. Paradise Valley Unified Sch. Dist.

   No. 69, 815 F.3d 1195, 1204 (9th Cir. 2016) ("meaningful access" to the benefits


                                             19
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.20 Page 20 of 46




  "that were available as reasonable accommodations".) and Cebulski v. San Diego

  Unified School District, No. 21-CV-503-CAB-JLB (S.D. Cal. April I, 2022)

   ("meaningful access") and Musgrove v. Hanifin, No. 20-cv- 00614-GPC (S.D.

   Cal. May 12, 202l)("Section 504 ... does require reasonable modifications

   necessary to correct for instances in which qualified disabled people are prevented

   from enjoying 'meaningful access' to a benefit because of their disability.").

         54. A sixth element that must be alleged and proved is that the ETS denial

   must show "deliberate indifference", where "deliberate indifference" means

   making a deliberate decision to not offer an accommodation that is "reasonable on

   its face, i.e., ordinarily or in the run of cases" according to Mark H. v. Hamamoto,

   620 F.3d 1090, 1096 (9th U.S. Circuit Court of Appeals 2010).

          55. And, if the extra accommodation does not look reasonable on its face,

   the "run of cases" for the jury to apply to see if it still is reasonable is the test the

   court held in Mark H. v. Hamamoto, which is to compare what was considered a

   "reasonable" or necessary accommodation in other cases such as In re: U.C.

   Berkeley, Case 09-14-2251 (OCR Dec. 17, 2015) which case is attached to this

   complaint as Exhibit I.

          56. In that case ofU.C. Berkeley, the Office of Civil Rights of the U.S.

   Department of Education ruled that an extension of time to do school work and

   take tests for a disabled student was reasonable no matter how long it took, up to

                                                20
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.21 Page 21 of 46




   two years longer to finish a one semester class, where there was no evidence in

   that case that the extra time would alter the content of the questions or lower the

   standard for grading than other students had to face.

         57. In other words, that case stands for the rule that delay in completing the

   activity is a reasonable accommodation no matter how long the condition requires,

   and is not a substantial alteration of the job of the agency to justify a denial

   according to the Office of Civil Rights, the federal government agency designated

   for enforcement of the Rehabilitation Act against colleges.

         58. That letter-ruling at Exhibit I also shows U.C. Berkeley agreed.

         59. But, of course, that was a public college case, based on the general rule

   at Douglas v. Cal Dept. of Youth Auth., 271 F.3d 812, 819 (9 th Cir. 2001)( the

   entire State of California and all of its departments are caught by the act because

   California accepted federal funds through one state agency).

          60. Yet it was the same result in private institution cases, such as In re:

   American Jewish University, March 21, 2018, Office of Civil Rights #09-18-2036,

   Resolution Letter ("individuals with disabilities must be provided with aids,

   benefits, or services that provide an equal opportunity to achieve the same result

   or the same level of achievement as others. 34 C.F.R. § 104.4(b)(2)") and Gorman

   v. Bartch, 925 F.Supp. 653, 657 (W.D. Mo. 1996)(statute applies to all programs

   and activities as long as they receive federal funds) and Moore v. Sun Bank of

                                              21
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.22 Page 22 of 46




  North Florida, N.A., 923 F.2d 1423, 1431 (11th Cir. 199l)(private bank is caught

  by the duties of the Rehabilitation Act because it participates in lending

  guaranteed SBA loans backed by the United States) and Sanders v. Marquette

  Public Schools, 561 F.Supp. 1361 (W.D. Mich. 1983)(ifany program of the

   institution receives federal funds, the entire institution is caught by the

   Rehabilitation Act) and Moreno v. CONRAIL, 99 F.3d 782, 784 (6 th Cir. 1995)

   (private railroad was caught by the Act because it accepted federal funds for track

   improvements).

          61. Based on these cases, this jury may conclude that because ETS did not

   provide Mel with benefits to provide him an equal opportunity "to achieve the

   same result of the same level as others" (like extra time his condition required),

   the ETS accommodation limited to only 100% extra time when Mel needed 300-

   500%, was unreasonable so it violated the rehabilitation Act at § 504.

          62. A Seventh and final element, as a practical matter is the plaintiff may

   be required to allege and testify in trial to some harm visited upon him by the

   unfair policy of denial of a meaningful accommodation, although the

   Rehabilitation Act does not actually require proof of injury. This is because

   standing in a federal court to reach a damages award (standing means the right to

   use a federal court) which is called Article III standing after Article III of the

   Constitution, still requires a showing of injury even if the disability statutes are

                                              22
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.23 Page 23 of 46




   clearly violated, as held by Fortyune v. American Multi-Cinema, Inc., 364 F.3d

   1075, 1081 (9 th Cir. 2004).

         63. And since an injunction is also sought against ETS to force ETS to

   give Mel the 300-500% extra time, Mel must allege a "real and immediate threat

   of injury" in the future. That same appeals court ruled that this is satisfied if the

   plaintiff (Mel) can prove the offending defendant (ETS) "had at the time of the

   injury, a written policy, and that the injury stems from that policy", because "there

   is an implicit likelihood of its repetition in the immediate future" at Fortyune v.

   American Multi-Cinema, Inc., at page 1081 (9 th Cir. 2004).

         64. Mel made that allegation above, when he alleged the ETS "rule book"

   backed provided a 100% cap on extra time for any disability. It still does today.

   And it will continue this year and for 7 more decades unless this jury changes it by

   holding that 100% may not be enough for all disabled so ETS violated the Act.

          65. All of these 7 elements are now alleged by this plaintiff and which he

   will prove a trial, are as follows.

          66. Element (1) is present here because plaintiff has a visual disability that

   severely interferes with his ability to read at the speed others can read and on

   which the time deadlines were created by the ETS.

          67. Mel presented statements to the ETS from colleges and from his eye

   specialists that made or implied that conclusion that he has a serious disability that

                                              23
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.24 Page 24 of 46




   interferes with a major life activity, of seeing straight. He does, in fact, have that

   disability and the EEOC Enforcement Guidelines on the Americans with

  Disabilities Act and Psychiatric Disabilities 3 (March 25, 1997) states that seeing

   and sleeping are major life activities and these are severely damaged in this

   plaintiff (Mel).

         68. Therefore, Mel has a "physical or mental impairment that substantially

   limits one or more of [his] major life activities" as described by Congress at 42

   U.S.C. §§ 12102(2)(A), and 12112(a).

         69. Mel also combats serious emotional strain and loss of sleep resulting

   from the ETS denial to prevent Mel from moving forward "solely because of this

   disability", and that emotional trauma may also base a jury award according to

   McAlindin v. County of San Diego, 192 F.3d 1226, 1232-33 (9 th Cir. 1999).

          70. Element (2) is present here because but for the difference in reading

   speed caused by his eye injuries, he was qualified to take the GRE test and he is a

   graduate of an American college which qualified him to take the GRE test.

          71. Mel would also have been able to qualify for fee discounts.

          72. Additionally, Mel took the SAT from ETS in his last year of high

   school and scored a grade at about the 98 th percentile which is the equivalent to a

   high "A" that got him accepted by the University of California, and ETS records

   show student scores in their SAT tests and their later GRE tests are commonly

                                              24
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.25 Page 25 of 46




   almost identical. So Mel was otherwise qualified to take the test and to score in

   the range required by the top law schools and graduate programs in the nation.

         73. Documentary evidence presented now supports this allegation by Mel.

         74. Specifically, Exhibit J shows because Mel was likely to score at the

   98 th percentile in the GRE if he could only read the questions in time, he would

   have earned a GRE score of 332.

         75. Exhibit K then, shows that score of332 is enough to gain admission to

   Yale Law School, which is ranked as number 1 in the nation. Therefore, the ETS

   unfairly denied Mel the best chance anyone could have.

         76. Mel's eye injuries also occurred after taking the high school SAT, so

   now he needs the extra time to read that he did not need when he took the SAT.

   His professors in recent college classes in 2021 and 2022 also submitted strong

   letters of recommendation for his law school admissions packet to the Law School

   Data Assembly Service (LSDAS) that collects the records needed to apply to all

   law schools in the nation. Those letters are "stale" now and he needs recent

   scholarship to be considered for admission according to Yale Law School. So he

   needs another full year of classes to generate new letters of recommendation.

         77. So, in 2022 only the GRE test was missing from his admissions packet

   because ETS refused to allow it to be done fairly, given Mel's reading disability.

          78. Element (3), being denied the meaningful "benefits of the program

                                             25
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.26 Page 26 of 46




   solely by reason of his disability", is also alleged here because taking the GRE

  without the extra time as an accommodation would deny Mel a meaningful benefit

   of the test because he would surely fail it without the extra reading time since he

   could only reach and answer I/5th of the questions in the time ETS permits.

         79. Mel tested this speed in a college genetics class in 2019. The professor

   refused to allow the extra time to take her first test that Mel requested, to see what

   Mel could reach. He was only able to reach 20% of the questions on the test and,

   therefore, failed the test and the college agreed to a withdrawal from the school

   without a grade (that also proves how hostile colleges are to the disabled).

         80. It is for this jury then, to determine if the 300-500% extra time to take

   the test would be a "reasonable" accommodation to make the test meaningful for

   plaintiff to take it without fear that his disability will cause failure, according to

   this San Diego Federal Court in Musgrove v. Hanifin, at iv: "Reasonableness

   'depends on the individual circumstances of each case, and requires a

   fact-specific, individualized analysis of the disabled individual's circumstances

   and the accommodations that might allow him to [enjoy meaningful access to the

   program.]'", following the direction of the federal appeals court over this court.

          81. That means there is no "one-size-fits-all" fixed accommodation that a

   defendant can impose for everyone as ETS clearly forces on the disabled, and as

    suggested by Folkers v. City of Waterloo, Iowa, 582 F.Supp.2d 1141, 1153 [13]

                                               26
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.27 Page 27 of 46




   (N.D. Iowa 2008)("There is no "one size fits all" formula for what process is due

   in all circumstances ... The fundamental requirement of due process is the

   opportunity to be heard "at a meaningful time and in a meaningful manner.").

         82. Element (4), the requirement of federal funding is also alleged here,

   and proved with Exhibits at G that show ETS admitting federal funding, and these

   were only a fraction of the hundreds of federal grants the ETS has received in 7

   decades and continues today to receive. Exhibit L is another recent piece of

   documentary evidence proving it.

         83. Element (5), the lack of meaningful benefit is alleged above at

   paragraphs ('lliD 3, 5, 32, 38, and especially 79 where Mel says he could only

   answer 20% of the questions that tests give in the rigid time they set for those with

   good vision, and that would result in a terrible failure on the GRE test and the

   elimination of admission to all law schools with sufficient reputation to market

   one's skills as a patent specialist or as a general lawyer. That makes the rigid rule

   of ETS less than meaningful, so it is a violation of the Act.

          84. And for injunction, the court is limited to stopping the "inadequacy" of

   the defendant's poor accommodation and nothing more, as held in Armstrong v.

   Davis, 274 F.3d 849, 881 (9th Cir. 2001)("the remedy must ... be limited to the

   inadequacy that produced the injury in fact that the plaintiff has established").

          85. But injunction is a matter for the judge only after a jury finds the ETS

                                             27
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.28 Page 28 of 46




  fixed solution of 100% accommodation and no more, to be inadequate. This

  because adequacy of the accommodation of ETS is a question of fact, and only the

  jury can decide if the rule for 100% accommodation is adequate and meaningful,

  or not.

            86. Element (6). the duty to prove deliberate indifference, was explained

  in that appeals court decision in Mark H. v. Hamamoto at p. 1096, which held the

  jury must also find the person denying that meaningful access must show the

   defendant is guilty of "deliberate indifference" as well.

            87. That is alleged above at ,r,r 28-29 that the ETS refused to give a model

   of what might pass to allow more time, and refused to say anything that Mel's eye

   specialist could use.

            88. Mel's submission of those letters to the jury at trial that show the

   callous excuses ETS gave constitute the proof required.

            89. For instance, when Mel asked at ,r,r 28-29 that the ETS send a copy of a

   petition for extra time to take the test that met the parts they required, but to

   remove or redact the names of those test-takers so as not to reveal anything

   confidential, the response ofETS was to ignore that invitation to remove

   identifying information entirely. They answered that they cannot provide it

   because it is confidential.

            90. That can only mean revealing what works is confidential because ETS

                                               28
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.29 Page 29 of 46




  does not want to approve any extension at all. That proves a fixed decision not to

  remedy the inadequate l 00% accommodation and that means deliberate

   indifference.

         91. Mel actually cited the Berkeley case to the ETS to show he was not

   asking to alter the test. He did not ask for easier questions. He did not ask to be

   allowed to answer only 200 questions rather than 1,000 that all test takers had to

   answer. He only asked to allow him to take longer to answer all of the same

   questions because he cannot hurry up his eye injuries. A blind man cannot restore

   his own sight because it is annoying to a testing agency to add more hours as are

   necessary, as the Office of Civil Rights suggested at In re: U.C. Berkeley. Mel is

   not blind. But the analogy still fits.

          92. The ETS ignored that case, and a half dozen follow-ups Mel sent.

          93. Therefore, that pattern of the ETS refusing to go beyond their 100%

   rule no matter how serious the disability, showed "deliberate indifference"

   because they refused to budge after attempts to provide the extra proof they

   needed, and they refused to provide an example of what would qualify for them,

   and they entirely ignored the request of a leading eye specialist in the world to

   provide her with more detail or example, just to be stubborn.

          94. The federal appeals court in Boston ruled refusing only once to stop

   the violation may constitute reckless indifference, at Sanchez v. Alvarado, 101

                                             29
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.30 Page 30 of 46




   F.3d 223, 229 (1 st Cir. 1996)("we in no sense mean to suggest that a supervisor

   escapes liability by conducting a formal investigation into each harassment

   complaint ... a failure to take prompt and emphatic action could constitute

   reckless indifference").

         95. And the federal appeals court here ruled a deliberate decision not to

   remedy against violations constitutes deliberate indifference, at Oden v. Northern

   Marianas College, supra, 440 F.3d 1085, 1089 (9th Cir. 2006)(college itself may

   be liable for deliberate indifference to civil rights wrongs if a jury "could find that

   the College made 'an official decision ... not to remedy the violation"').

         96. Or, mere repeated refusals to stop the violation after multiple requests

   also constitutes deliberate indifference, as suggested by McGukin v. Smith, 974

   F.2d 1050, 1060 (9 th Cir. 1992).

          97. That is what the conduct ofETS shows: a deliberate decision not to

   accommodate meaningfully and a refusal to provide a meaningful accommodation

   several times.

          98. And it also allows punitive damages, as in the Kolstad case (above).

          99. That is because they had no intention of allowing any additional time

   beyond their 100% limit, ever.

          100. Element (7). actual injury, is also alleged above at ,i 8 showing Mel

   has now lost at least 5 years of salary as a patent attorney or patent agent and that

                                              30
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.31 Page 31 of 46




  is actual injury. And he alleged emotional distress from the loss of career fear

  which is also injury that the jury may compensate him for under the Rehabilitation

  Act, according to McAlindin v. County of San Diego, 192 F.3d 1226, 1232-33 (9 th

   Cir. 1999).

         101. That emotional distress then generated internal organ damage, that

   combined with an existing infection he acquired from an unrelated medical

   problem, created a new medical condition which is serious and can lead to system-

   wide bacteremia, sepsis and death.

         102. This aggravation of his existing condition was in part, caused by this

   frustration and fear. It was also caused by Mel's efforts to find a different career,

   and return to college in 2021 to take 2 years of classes to try admission to a

   graduate program in philosophy. That discipline does not require the GRE test for

   graduate schools. That effort failed, however, despite his GPA of 4.0 in 8 new

   classes taken in 2021-2022 because he was informed, and Exhibit M supports the

   information, that an applicant will not be admitted to a graduate school for

   philosophy unless he can prove he had "a long-term interest in that field" as the

   UCSD circular warns, which means many more classes at top ranked college and

   not a junior college. Because Mel did not have a long standing interest in that

   field, he was denied admission to those graduate schools.

          103. Further, Mel exhausted the philosophy courses available at local junior

                                             31
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.32 Page 32 of 46




  colleges. He would need two more years of philosophy classes at 4 year colleges

  to prove long standing interest, but he cannot pay the $80,000 a year the top

  schools require just to go back and take 2 more years of philosophy courses to

  qualify for admission to a PhD program that would then require 7 more years in

  the graduate school to graduate with a PhD and get work because that would make

  less salary than 3 years in law school would produce. Exhibit N shows the new

  lawyer salaries at Yale and other top law schools. Had Mel been admitted to any

  of those, he wold be making far more salary after 3 years than 9 years of

  philosophy courses could provide.

             104. Thus, Mel did his best to "mitigate damages" which is to try to work

  around the bias of the GRE test, but that effort failed. The least costly choice to

  Mel and to the ETS is this present law suit is for the jury could make an award of

  $1 million to compensate Mel for the loss of 5 years of future earnings and for

   another $1 million for emotional and physical pain and suffering and mental

   stress.

             105. That might be enough to pay for the tuition and room and board for a

   full extra year of classes at a top college at a cost of $80,000 a year just to produce

   new letters of recommendation for law school applications, plus the same cost of

   $80,000 a year oflaw school after federal income taxes are paid on that verdict at

   the highest tax rate, or $2.4 million for 3 years of law school, to allow Mel to get

                                              32
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.33 Page 33 of 46




  through law school if this jury finds ETS violated the Act so the judge can order

  ETS to give Mel the extra time he needs to take their test meaningfully.



         l 06. And the jury could add to that award any amount between $1 million

  and $760 million against ETS and in favor of Mel as a punishment ofETS to wake

  them up and make them change their ways, and that extra amount could allow Mel

  a better chance to finish those classes and undertake meaningful medical treatment

  for his aggravated condition ETS caused, and to start that career that he has thus

  far been denied.

         107. Mel acknowledges these efforts to overcome the rigid ETS bias

   against the disabled were not the only cause of his medical troubles, nor his

   sleeping disorder. But the jury may still make an award for Mel for the full value

   of new emotional and physical injuries if it finds the ETS stubborn refusal to allow

   a meaningful accommodation was a substantial factor, even though not the only

   factor, in causing those additional medical complications as held in Scirex Corp. v.

   Federal Ins. Co., 313 F.3d 841, 849-50 (3d Cir. 2002)(the direct cause of a loss

   "does not have to be the sole cause or immediate cause" of plaintiffs loss for him

   to prevail, "but need only be a proximate or substantial cause" of the loss to allow

   a damages award) and SAIF Corp./Oregon Ship v. Johnson, 908 F.2d 1434, 1441

   (9th Cir. l 990)("The doctrine of aggravation ... holds that the [person causing an

                                            33
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.34 Page 34 of 46




   aggravation in a pre-existing condition] must fully compensate a [victim] whose ..

   . injury 'aggravates' a pre-existing condition").



         108. Further, Mel's injury actually extends to the loss of the entire career

   rather than just 5 years of salary and emotional distress coupled with physical

   symptoms from that distress.

          109. This is because in Mel's panic and fear to get his legal career going

   rather than just die because of the ETS testing refusal, Mel attempted to demand

   from Yale and NYU and other schools to admit him without taking the admission

   test and to force the American Bar Association to lift their requirement of taking

   those tests so he could get going and not sit around like an unemployed invalid

   until he dies.

          110. Those demands succeeded with the American Bar Association,

   because they lifted their 50 year requirement of taking the LSAT or GRE nation-

   wide as a condition for law school admission in 2023 under threat oflegal action

   by this plaintiff. So Mel's desperation may have helped some other disabled

   students who would also fail to become lawyers because they too cannot take the

   GREorLSAT.

          111. But Mel's efforts failed with the law schools. On Mel's follow-up

   efforts with those law schools they demonstrated that they knew who Mel was and

                                             34
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.35 Page 35 of 46




  told him they would still not admit him even without the test requirement by the

  Bar Association. So, word got around against Mel's attempt to force his way into

  those schools since the ETS barred him from using the normal test method. That

  means this rigid ETS refusal to grant an accommodation that is meaningful was a

   substantial cause of those law schools permanently preventing Mel from

   admission to those schools.

           112. Therefore, Mel's career as a patent lawyer will likely be blocked

   permanently by a refusal of any top law school to admit him no matter what his

   GRE score after this court orders ETS to accommodate better (if this jury finds the

   ETS refusal to budge was a violation because it is unreasonable).

           113. On that basis Mel has now lost a 20 year career as a patent lawyer at

   $400,000 a year for a loss of $8 million, or a 20 year career as a patent agent

   earning at least $163,000 a year for 20 years for a loss of $3 .26 million because

   the Patent Office still requires an American law degree for a patent agent license.

           114. Or, if Mel failed to get a patent agent license and had to practice

   general law on graduation from a top law school, he would have earned $50,000

   more a year in salary instead. Exhibit N shows the average salary for Yale law

   grads last year was $204,668 and the average for Cornell law grads was $50,000

   more.

           115. WHEREFORE, Mel seeks and is entitled to a jury award against the

                                              35
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.36 Page 36 of 46




  ETS for $8 million if the jury finds it is a fair measure of his economic loss, and

  for $1 million for personal injuries and pain and suffering based on emotional

  trauma and physical organ damage moving therefrom, but he may not ask for

  punitive damages under the Rehabilitation Act. He also asks for interest on

  compensatory damages at the 10%. And if this jury agrees ETS denied Mel the

  accommodation he should have had and thereby violated the Rehabilitation Act,

  Mel asks the judge for an injunction to bar ETS from refusing to grant the

  accommodation hereafter that Mel's doctors requested.



                  SECOND COUNT FOR VIOLATION OF

            THE AMERICANS WITH DISABILITIES ACT (ADA)

                           AT 42 U.S.C. §§ 12132 and 12181

         116. All allegations above are incorporated into this cause of action by this

   reference.

         11 7. Courts have held that the rules used to allow a jury to make an award

   under the ADA are largely the same as for the Rehabilitation Act with the

   following exceptions.

         118. First, under the ADA, there is a presumption that the accommodation

   sought by the disabled must be granted unless the defendant demonstrates the

   extra accommodation "would impose an undue hardship", according to McAlindin

                                            36
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.37 Page 37 of 46




  v. County of San Diego, 192 F.3d 1226, 1237 (9 th Cir. 1999).

         119. ETS can try to argue undue hardship, but the Office of Civil Rights

  has already implied at Exhibit I in the U.C. Berkeley case, that merely providing

  more time to the disabled to finish their courses, as long as the disabled condition

  needs, cannot be an undue hardship and the University of California agreed.

         120. Yet it is for this jury to decide if adding 3 extra days of testing, not

  two years, is an undue hardship when the questions are the same and the content is

  the same and the grading of right answers in the test is the same as all test takers

   get, no matter what the ETS says and no matter what the Office of Civil Rights

   and U.C. Berkeley says.

         121. In this respect, this jury is the most powerful legal body in the nation,

   greater than the Congress, the Supreme Court, and the President. It need not

   follow established social norms in making its award as long as it is based on

   enforcing fundamental fairness and following the guidelines of this trial judge in

   the process of finding what is fair.

         122. In creating those guidelines, the court of appeals in McAlindin v .

  . County of San Diego ruled at p. 1236 that in making that finding of hardship to

   ETS the jury must consider "the issue is ... whether the [defendant] took

   reasonable steps to accommodate his limitations". The proof against hardship

   here is ETS' refusals and denials of information that were not reasonable steps,

                                             37
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.38 Page 38 of 46




  because "stonewalling" is not a reasonable step toward accommodation.

         123. Second, under the ADA, a plaintiff can sue on the basis that the

  defendant was effectively a "public place" and denied accommodations at that

  place to allow the disabled equal access to the benefits there, where equal access

  does not mean just physical proximity but equal chances to have the full benefit

  available, according to Fortyune v. American Multi-Cinema, Inc., 364 F.3d 1075,

   1081 (9th Cir. 2004) ("The ADA's implementing regulations are designed 'to place

  those with disabilities on an equal footing" with those who have no disabilities

   and "an employer who treats a disabled employee the same as a non-disabled

   employee may violate the ADA").

         124. That is what ETS does. Mel needs at least 300% more time to read the

   same questions as others. Denying that by putting Mel on equal footing with

   100% extra time group to read the same questions as the healthy test takers, is a

   refusal to put him on equal footing.

         125. Third, under ADA discrimination sections which include§ 12132 and

   § 12181-84, the jury may award punitive damages here in Count II that the jury

   could not award under the Rehabilitation Act at Count I, as held in Gribben v.

   United Parcel Service, Inc., 528 F .3d 1166, 1172 (9 th Cir. 2008)("A punitive

   damages instruction may, however, be warranted in connection with Gribben's

   disability discrimination claim .... ").

                                              38
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.39 Page 39 of 46




         126. Additionally Mel may assert these rules using the ADA in the same

  law suit as the Rehabilitation Act rules since ADA rules apply to govern the

  conduct of private schools as places ofpublic accommodation that the

  Rehabilitation Act might not, as held in Kaltenberger v. Ohio College of Podiatric

  Medicine, 162 F. 3d 432 n. 4 (6th Cir. 1998)(under 42 U.S.C. § 12181(7)(J)

  (postgraduate private schools, or other places of education, are considered public

  accommodations and the ADA prohibits discrimination in public accommodations

  at 42 U.S.C. § 12182).

         127. This catches the ETS because its publications at Exhibits F and 0

   show its status as a de facto private college in New Jersey and shows ETS took

   federal funding to teach students with visual disabilities. So ETS is effectively a

   postgraduate private school for test takers with visual disabilities, and the ADA

   provides that public teaching facilities are places of "public accommodations" at

   42 u.s.c. § 12182.

         128. But the common legal rule the jury needs for both ADA and

   Rehabilitation Act decisions is a finding that ETS placed a limit on the

   accommodation it would allow when the disability needs more, according to the

   appeals court in Armstrong v. Davis, 275 F. 3d 849, 862-63 n. 20 (9 th Cir.

   2001 )( defendant may violate these acts if the administrative board places a limit

   on the accommodation allowed where the person needed more to be meaningful)

                                             39
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.40 Page 40 of 46




  and Stevens v. Harper, 213 F.R.D. 398, 375 (N.D. Cal. Sept. 11, 2002)(alleging a

  failure of acconnnodation is enough to state a claim without showing how).



         129. Finally, the jury can make an award in Mel's favor ifit finds he was

  denied an educational opportunity that would not have been denied but for the

  ETS failure to acconnnodate his disability, as held by Damron v. North Dakota

  Commissioner of Corrections, 299 F. Supp. 2d 970,975 (D. N.D. 2004)(denial of

  educational opportunity others get, states a claim).

         130. Mel proves this is the case here. He was clearly denied educational

   opportunities in the law schools and graduate schools he described above, and he

  will likely be denied admission to those schools now because of his panicked

   effort to force his way in to Yale and NYU and others after the ETS would not

   compromise its rigid cap on disability acconnnodation.

         131. He actually had a duty to make those efforts and annoy those colleges

   because an injured victim must "mitigate harm" visited upon him before suing the

   ETS, and that means attempting other avenues to remedy the problem first. Mel

   did so. But his efforts backfired.

         132. Additionally, since punitive damages are not tied directly to the actual

   harm visited upon the victim like 10 times greater or 100 times greater than

   compensatory damages, the jury may award punitive damages to punish the

                                            40
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.41 Page 41 of 46




  offending company or college regardless of the compensation award it makes for

  loss of salary. So the jury may award punitive damages against ETS for any

  amount up to 1/3 of the value ofETS, as long as they also make some award for

  compensation damages at the same time, under the rules of Passantino v. Johnson

  Consumer Products, 212 F.3d 493, 509 (9 th Cir. 2000)(the jury must intend to

  award compensatory damages if they want to award punitive damages under the

  federal disability law) and Kirkbride v. Lisbon Contractors, Inc., 521 Pa. 97, 555

  A.2d 800, 803-04 (1989) (punitive damages need not bear a reasonable

  relationship to compensatory damages under tort law), and Slaughter v. Legal

  Process and Courier Service, 162 Cal.App.3d 1236, 1252, 209 Cal.Rptr. 189

  (1984)(punitive damages recoverable on a showing of malice by a defendant), and

  Kolstad v. American Dental Ass'n, 527 United States Supreme Court 526, at page

   535 (1999)(the definition of malice that allows punitive damages is not hatred or

   ill-will: it is only enough that the defendant knew or should have known that he

   "may be acting in violation of federal law"), and Devlin v. Kearny Mesa

   AMC/Jeep/Renault, Inc., 155 Cal. App. 3d 381, 391 (1984)("Net worth generally

   is considered the best measure of a defendant's "wealth" for purposes of assessing

   punitive damages") and Finney v. Lockhart, 35 Cal.2d 161, 163, 217 P.2d 19

   (1950)(punitive damages are available for preventing someone from entering a

   campaign career).

                                            41
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.42 Page 42 of 46




         133. WHEREFORE, Mel seeks and is entitled to a jury award against the

  ETS for $8 million for loss of the entire legal career, or for $3.26 million for loss

  of the patent agent career, whichever the jury finds is a fair measure of his

  economic loss, and for $1 million for personal injuries based on emotional trauma

  and physical organ damage and pain and suffering moving therefrom, and for an

  additional amount in punitive damages up to 1/3 of the net worth ofETS which is

  $7 60 million, and for interest thereon at 10% per year since 2022, and if this jury

   agrees ETS denied Mel the accommodation Mel should have had and thereby

  violated the ADA, for an injunction by the judge to bar ETS from refusing to grant

   the accommodation hereafter that Mel's doctors requested.



                                           III.

     COUNT THREE FOR BREACH OF THE IMPLIED COVENANT

                   OF GOOD FAITH AND FAIR DEALING

         134. All allegations above are incorporated into this cause of action by this

   reference.

         135. Mel registered with the ETS as an applicant in 2019, hoping to take

   the GRE as soon as he took classes he needed to generate letters of

   recommendation.

         136. That contract did not say the ETS would limit a disability

                                            42
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.43 Page 43 of 46




  accommodation to 100% extra time to take the test.

         137. The February 2022 letter from ETS supports that fact by inviting Mel

  to submit recent letters from doctors that could generate 300-500% extra time to

  take the test.

         138. Therefore, ETS was subject to the implied covenant of good faith and

  fair dealing that imposes "the obligation for neither party to a contract to 'do

  anything that will injure there [sic] right of the other party to receive the benefits

  of the agreement", as held at Gopinath v. Somalogic, Inc., No. 3:23-cv-1164, at B

  (S.D. Cal. Nov. 22, 2023).

         139. ETS breached that implied covenant by failing to provide sufficient

  information Mel's doctors needed so frame a successful petition to extend test-

  taking time by 300-500% as described above at 1128-29.

         140. Further, ETS breached that covenant by refusing to agree to redact or

   remove confidential information about any prior test taker who was approved for

   extended test taking time in excess of 100%, and send that petition to Mel or to

   Mel's eye specialist.

         141. That excuse ETS staff gave was "lame", by saying they could not

   share confidential information of another applicant, because once the identifying

   information is removed it is no longer about another applicant.

          142. These refusals constituted "conscious and deliberate acts" to frustrate

                                             43
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.44 Page 44 of 46




  Mel's contractual rights to make a fair and competent petition to extend testing

  time to 300-500% and were not just honest mistakes, bad judgment or negligence,

  because the numbers of refusals by ETS to allow more time can only be explained

  by a deliberate policy to refuse, as in Chateau Chamberay Homeowners Ass'n v.

  Associated Int'l Ins. Co., 108 Cal.Rptr.2d 776, 783 (Ct.App. 2001).

         143. Mel was injured by that breach of the implied covenant because it

  prevented Mel from making a petition that the ETS would approve, and that

  prevented Mel from taking the GRE test in 2022 and 2023 and 2024, and that

  prevented Mel from applying to any law school in 2022 and 2023 and 2024.

         144. And that prevented Mel from graduating in 2025 to 2028 and earning

   $200,000 a year for 5 years as an attorney or $163,000 a year as a patent agent.

         145. That loss also generated serious medical problems in Mel, aggravating

   existing injuries and creating new ones as described above.

         146. These lost years and payments were reasonably foreseeable by ETS, as

   described above, since ETS had spent decades studying the effect and

   consequences of testing on applicants with visual disabilities.

         14 7. This breach of the covenant of good faith was an actual, substantial or

   proximate cause of those losses.

         148. The damages available for a breach of contract are those "reasonably

   foreseeable by them" when "the contract was entered into", according to this court

                                            44
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.45 Page 45 of 46




  at Ll Technologies, Inc. v. Chekanov, No. 3:20-cv-259-H-JLB at ii (S.D. Cal.

  Aug. 30, 2023).



         149. WHEREFORE, Mel seeks and is entitled to a jury award against the

  ETS for $8 million or for $3 .26 million whichever the jury finds is a fair measure

  of his economic loss, and for $1 million for personal injuries based on emotional

  trauma and physical organ damage and pain and suffering moving therefrom, or

   for $1 million as a fair measure of his loss of salary for the period 2022 to 2027

  plus $1 million for personal injuries based on emotional trauma and physical organ

   damage and pain and suffering.

         150. Mel also seeks and is entitled to an injunction against ETS if this jury

   finds they did breach the covenant of good faith and fair dealing, to bar the ETS

   from refusing to give the GRE test to Mel with 500% extra time over several days,

   and with more breaks for movement as his other disabilities require than for those

   without those other physical disabilities.

   Ill




                                                45
Case 3:24-cv-00110-TWR-MSB Document 1 Filed 01/17/24 PageID.46 Page 46 of 46




                                           IV.

                                    CONCLUSIONS

         151. Given the above remedies, if the jury agrees that the conduct of the

  ETS was unreasonable or that additional time to answer its GRE questions is not

  an undue burden, plaintiff seeks and is entitled to an award of compensation by the

  jury for the amounts requested in Count I under the Rehabilitation Act of $10

  million, and to add to that an award of compensation by the jury for the amounts

  requested in Count II under the ADA of another $10 million and for punitive

  damages under the ADA of$760 million, and also to add to that amount if the jury

  finds it fair to do so, an award of compensation for the amounts requested in

   Count III for violation of the covenant of good faith and fair dealing of another

   $10 million. All these together mean a total of $30 million in compensation and

   $760 million in punitive damages, and for the judge to enjoin ETS from refusing

   to administer the GRE test to Mel with the extra time his doctors requested of 300-

   500% extra time over several days and for frequent breaks for Mel's back

   disabilities as he may require based on back pain he suffers sitting for a long time.

          152. These allegations are verified.


   DATED: January 17, 2024
                                                  Mel Marin



                                             46
